                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 JOHN DOE,

                Plaintiff,

        v.
                                                           Civil Action No. 24-0617 (TJK)
 U.S. IMMIGRATION AND CUSTOMS
 ENFORCEMENT,

                Defendant.



    DEFENDANT’S RESPONSE TO PLAINTIFF’S ADDITIONAL STATEMENT OF
                          MATERIAL FACTS


       Defendant, Immigration and Customs Enforcement, hereby submits the following response

to Plaintiff’s statement of material facts as to which Plaintiff contends there are no genuine issues

in support of their Cross-Motion for Summary Judgment against Defendant.

       1.      This paragraph consists of Plaintiff’s conclusions of law, to which no response is

required.

       2.      Admitted.

       3.      This paragraph consists of Plaintiff’s conclusions of law, to which no response is

required.

       4.      Admitted.

       5.      Denied in part. Defendant denies Plaintiff’s allegation that it did not conduct a

search of its Government Information Law Division for records responsive to his FOIA request.

See Second Declaration of Fernando Pineiro ¶¶ 6-8. The remainder of the allegations of this

paragraph consists of Plaintiff’s description of the Government Information Law Division, to
which no response is required. Defendant respectfully refers the Court to the document cited by

Plaintiff for a complete and accurate statement of its contents and denies the allegations in this

paragraph to the extent that they are inconsistent with the full contents of the document.

Dated: December 4, 2024
       Washington, DC
                                                Respectfully submitted,

                                                MATTHEW M. GRAVES, D.C. BAR #481052
                                                United States Attorney

                                                BRIAN P. HUDAK
                                                Chief, Civil Division


                                                By:           /s/ Fithawi Berhane
                                                      Fithawi Berhane
                                                      Assistant United States Attorney
                                                      601 D Street, NW
                                                      Washington, DC 20530
                                                      (202) 252-6653
                                                      Fithawi.Berhane@usdoj.gov

                                                Attorneys for the United States of America
